        Case 1:25-cv-00385-ABJ             Document 2     Filed 02/10/25     Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


HAMPTON DELLINGER, in his personal
capacity and in his official capacity as Special
Counsel of the Office of Special Counsel,               Civil Case No. __________________

                             Plaintiff,

                 -against-

SCOTT BESSENT, in his official capacity as
Secretary of the Treasury, SERGIO GOR, in his
official capacity as Director of the White House
Presidential Personnel Office, KAREN
GORMAN, in her official capacity as Principal
Deputy Special Counsel and, upon the purported
removal of the Special Counsel, the Acting
Special Counsel of the Office of Special
Counsel, KARL KAMMANN, in his official
capacity as the Chief Operating Officer of the
Office of Special Counsel, DONALD J.
TRUMP, in his official capacity as President of
the United States of America, and RUSSELL
VOUGHT, in his official capacity as Director of
the Office of Management and Budget,

                             Defendants.


        PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER

       Plaintiff Hampton Dellinger hereby requests, under Federal Rule of Civil Procedure 65(b)

and Local Rule 65.1, that this Court issue a temporary restraining order, to remain in effect until

such time as the Court can further consider the merits of Plaintiff’s claims, (1) declaring on an

interim basis that President Trump’s removal of Special Counsel Dellinger from office, and any

recognition of an Acting Special Counsel in his place, is unlawful, and that Mr. Dellinger is the

Special Counsel; and (2) enjoining the remaining Defendants from removing Special Counsel

Dellinger from his office or in any way treating him as having been removed, denying or
         Case 1:25-cv-00385-ABJ           Document 2      Filed 02/10/25      Page 2 of 3




obstructing Mr. Dellinger access to any of the benefits or resources of his office, placing an Acting

Special Counsel in Mr. Dellinger’s position, or otherwise recognizing any other person as Special

Counsel or as the head of the Office of Special Counsel, pending further order of the Court.

Plaintiff requests emergency relief due to the exigency of the circumstances and the irreparable

nature of the injury the TRO would prevent.

        As set forth in the accompanying Memorandum of Law in Support of Plaintiff’s Motion

for a Temporary Restraining Order, Plaintiff Hampton Dellinger has served as the Special Counsel

of the United States Office of Special Counsel since March 6, 2024, following his nomination by

the President and confirmation by the Senate, for a five-year term. He may be removed from that

office “by the President only for inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C.

§ 1211(b). On February 7, 2025, the President purported to remove Special Counsel Dellinger

from his office in violation of the statute.

        Pursuant to Local Rule 65.1(a), at approximately 9:13 AM on February 10, 2025, counsel

for Plaintiff called the phone number listed on the U.S. Department of Justice Federal Programs

Branch’s website, (202) 514-1259, and left a voicemail for Alex Haas, Director of the Federal

Programs Branch, providing notice of Plaintiff Hampton Dellinger’s complaint and motion for a

emergency temporary restraining order to be filed in the U.S. District Court for the District of

Columbia at approximately 10:00 AM on February 10, 2025, and providing Plaintiff counsel’s

contact information.




                                                 2
       Case 1:25-cv-00385-ABJ   Document 2      Filed 02/10/25      Page 3 of 3




                                          Respectfully submitted,

                                          /s/ Joshua A. Matz
Kate L. Doniger*                          Joshua A. Matz, Bar. No. 1045064
HECKER FINK LLP                           Jackson Erpenbach, Bar. No. 1735493
350 Fifth Avenue, 63rd Floor              Benjamin Stern*
New York, New York 10118                  HECKER FINK LLP
(212) 763-0883                            1050 K Street NW, Suite 1040
kdoniger@heckerfink.com                   Washington, DC 20001
                                          (212) 763-0883
                                          jmatz@heckerfink.com
                                          jerpenbach@heckerfink.com
                                          bstern@heckerfink.com

                                          Attorneys for Plaintiff Hampton Dellinger

                                          *Applications for pro hac vice pending
DATED: February 10, 2025
      Washington, DC




                                      3
